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           Monday, 15 May 2023

           Harry F. Martin
           Courtroom Deputy Clerk                                 via eMail: Harry_Martin@gand.uscourts.gov
           to the Hon. Amy Totenberg
           2388 United States Courthouse
           75 Ted Turner Dr., S.W.
           Atlanta, Georgia 30303-3309
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           May it Please the Court —
           My name is Gregory A. Miller, and I have been authorized by our Board of Directors to submit
           this amicus curiae letter on behalf of the OSET Institute, Inc.—a 501(c)(3) non-profit non-
           partisan election technology research organization involving over 70 election and technology
           professionals headquartered in Palo Alto, CA., with over 17-years of experience at the
           intersection of election technology design and cybersecurity.

           This letter regards a question in the matter of Donna Curling et al v. Brad Raffensperger et al,
           Civil Action No. 1:17-CV-2989-AT in the United States District Court for the Northern District of
           Georgia, Atlanta Division; the Honorable Judge Amy Totenberg presiding.

           The Court asks the following question:

                    Plaintiffs have argued that the posting of the Dominion software on the Internet by third
                    party actors poses an aggravated threat of hacking and harm to election security and
                    Plaintiffs’ voting rights, in tandem with other occurrences within Coffee County’s
                    election operations. In light of this, how is it that publication of the redacted version of
                    Dr. Halderman’s report, which contains a virtual roadmap of how the Dominion software
                    and system may be compromised, would not compound the threats and risks to the
                    security of the computerized voting system that Plaintiffs’ counsel focus on as a central
                    theme of their legal claims, evidence, and argument? Or is this combined threat
                    irrelevant and, if so, for what reasons?

           On behalf of the OSET Institute’s senior technical team including the Chief Technology Officer,
           we provide our view for the Court’s consideration hereunder.
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On careful review of the matter through ours lens of critical infrastructure cybersecurity
technology, best practices, and public policy, we conclude that the report on security flaws in
Dominion voting machines, authored by Professors J. Alex Halderman and Drew Springall in
July 2021 (“Halderman Report”) and placed under seal by the Federal District Court for the
Northern District of Georgia, should be immediately unsealed by the Court and be made
public.

No one at the OSET Institute, including myself, has seen or read Professor Halderman’s report,
since it remains under seal. However, from what we have learned of it from other professional
colleagues in academia and elsewhere, it appears the report is a solid example of a standard
security-vulnerability report, now ready for public release. Our understanding is that the report
has been available for over 500 days at this point, and under best cybersecurity practices we
submit that such is more than enough time to have repaired the reported vulnerabilities that
can be satisfactorily and successfully remediated. It is our further understanding, pursuant to a
recent U.S. EAC compliance filing, that the manufacturer, Dominion, has claimed to have
repaired at least some of the vulnerabilities in their Democracy Suite 5.17 product that can
apparently be traced to the Halderman Report findings.

Accordingly, best practices indicate it is time to disclose this report. Customers of this
Dominion product, which primarily includes election administrators, public officials, and voters,
require complete information about the security of the technology in order to reach their own
properly informed conclusions about how to proceed with this equipment in their own
elections. Publication of the report will allow that analysis to occur, and as a consequence will
likely ensure that all remediations are, in fact, made. Moreover, there is no benefit to the
integrity of the existing Dominion technology in sustaining the nondisclosure of the Halderman
Report. It is uniformly understood by computer security professionals including CISA, that
keeping digital vulnerabilities secret does not sustain or improve security. If someone can
discover a vulnerability, others can do the same.

Let us return our attention to the very specific question the Court asks regarding the potential
for disclosure to aggravate pre-existing disclosures and their potential to cause harm to the
integrity of affected elections equipment.

The existing voting systems in use in Georgia are critical information systems that are now
vulnerable to attack by skilled adversaries who already have complete information about these



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target critical infrastructure systems, via prior unauthorized examination of the software code
and data which was previously made available, and quite probably via Internet publication.
Access to the content of the redacted Haldeman report would not provide these adversaries
with any additional attack capability beyond the capabilities that they now have, given prior full
access to the technology via those prior disclosures.

We agree that the Halderman Report could be characterized by analogy as a “virtual roadmap”
of the target systems' vulnerabilities. Extending this analogy, we observe that adversaries
already have a far better map—in essence a complete satellite and topographic map, which is
the knowledge already gained by direct access to the unauthorized disclosures of the
technology and related data earlier. Accordingly, the publication of the Halderman Report will
not increase the attackers’ already complete navigational knowledge and capability of the
technology.

This brings us to the Court’s second question:

        “Or is this combined threat irrelevant and, if so, for what reasons?”

We observe that we published a position statement on the dangers of unauthorized disclosures
of critical infrastructure technology last July.1 We stand by that statement and do not see our
encouragement of immediate publication of the Halderman Report as being at odds with that
position. First, we submit that the open threat we discuss in our July 2022 statement, plus the
fixed and known set of issues in the Halderman Report do not combine to form a “combined
threat.” They are two separate situations; one is a set of known threats that should have been
addressed by now, 500 days after the report, and the other, is a remaining open-ended
situation of ongoing potential for new attacks including at least misinformation and at worst,
potential for subversive compromise.

Further, we would not characterize the threats as entirely irrelevant. One cannot guarantee that
every customer of the product has taken the recommended steps to remove the vulnerabilities.
However, the standard and best practice is, once responsible disclosure has occurred, and
there has been time for remediation, to be public about the existence of the vulnerability and
the fact that there are fixes. That's sound policy, otherwise every vendor would hide
information about every vulnerability, and lack the incentive to increase quality and security of


1
    See: https://www.osetinstitute.org/research/2022/1407/votingsys-disclosures



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their product. That's one reason why it is good policy, and there's no reason not to apply it to
Dominion. We either accept the residual risk of some customers who have not responded to
the vulnerability, and gain the benefit of standard disclosure policies; or we must have zero
tolerance for any residual risk, and accept the consequences of vendors being able to hide any
and every vulnerability with impunity, unless or until it is business-wise economically feasible
for their remedy.

Finally, we note that the prior unauthorized disclosures of the technology have already
provided a head start for any adversary, and the Halderman Report will serve little to no
incremental value to their efforts or plans for misdeeds.

Therefore, for the foregoing reasons, we respectfully encourage the immediate release of the
Halderman Report for its public benefit, as no additional harm can come from so-doing;
however, not allowing its publication creates a different harm as a matter of public policy and
best cybersecurity practices.



Respectfully Submitted,


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